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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON




DR. ERICA MITCHELL,
                                                    Case No.: 3:18-cv-01982-BR
                           Plaintiff(s),

v.

OREGON HEALTH AND SCIENCES ET AL

                           Defendant(s).


                          Fed. R. Civ. P. 26(a) Discovery Agreement

        Pursuant to LR 26-2, I declare that the parties who have been served and who are not in
default have agreed to forgo the disclosures required by Fed. R. Civ. P. 26(a)(1).

Dated:   May 16, 2019


                                             s/ John B. Dudrey
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[Rev. 01/2018]
